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IN THE UNITED STATES DISTRICT COURT Eh
FOR THE NORTHERN DISTRICT OF ALABAMA
SOUTHERN DIVISION OSMAY 16 PH 2:21
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Lydia Hovanski,

Plaintiff,
V. CIVIL ACTION NO. CV-03-S-0838-S
American Income Life Insurance Company;

Office and Professional § Employees
International Union Local No. 277,

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Defendants.

ANSWER OF DEFENDANT OFFICE AND PROFESSIONAL EMPLOYEES
INTERNATIONAL UNION LOCAL NO. 277

Comes now Office and Professional Employees International Union Local No. 277 and
submits its Answer to Plaintiff’s Complaint as follows:

AFFIRMATIVE DEFENSES

1. Plaintiff's claim against Defendant Local 277 is barred as a result of Plaintiff's
failure to invoke and exhaust available contractual remedies.
2. Plaintiff's claim against Defendant Local 277 is barred as a result of Plaintiff’s

failure to invoke and exhaust internal union remedies.

3. Plaintiff's Complaint fails to state a claim upon which relief can be granted
against Defendant Local 277.

4. Plaintiff's claims against Defendant Local 277 are barred by applicable periods of
limitation.

5. Plaintiff's claims are not within the jurisdiction of this Court.

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ANSWER TO THE ALLEGATIONS OF THE COMPLAINT

6. Defendant, Local 277 acknowledges Plaintiffs assertion of jurisdiction set forth
in Paragraph 1 of the Complaint but denies that any of the asserted bases for jurisdiction is
applicable to Plaintiff's claim against Local 277.

7. Defendant Local 277 admits the allegations of paragraphs 3 through 5 of the
Complaint.

8. Pursuant to agreement of Plaintiff's counsel that paragraphs 2 and 10 through 43
of the Complaint are not directed against Defendant Local 277, no answer to such paragraphs is
necessary or appropriate.

9. Defendant Local 277 denies the allegations of paragraphs 44, 47, 48, 49 and 50 of
the Complaint.

10. Defendant Local 277 admits the allegations of paragraphs 45 and 46 of the

Complaint.
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Richard P.Rouco *
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing has been served
via United States mail, postage prepaid and properly addressed, on the [faay of

Men 2003, to the following:

Jon Goldfarb, Esq.

Gordon, Silberman, Wiggins & Childs, P.C.
420 North 20t Street, Suite 1400
Birmingham, Alabama 35203

f Counsel

